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 5
     Attorney for Defendant
 6   WALTER LEE DAWSON
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )      No. CR. S-98-431 FCD
                                     )
12                  Plaintiff,       )      STIPULATED MOTION AND ORDER TO
                                     )      REDUCE SENTENCE PURSUANT TO 18
13        v.                         )      U.S.C. § 3582(c)(2)
                                     )
14   WALTER LEE DAWSON,              )      RETROACTIVE CRACK COCAINE
                                     )      REDUCTION CASE
15                  Defendant.       )
                                     )
16   _______________________________ )
17        Defendant, WALTER LEE DAWSON, by and through his attorney,
18   Assistant Federal Defender David M. Porter, and plaintiff, UNITED
19   STATES OF AMERICA, by and through its counsel, Assistant U.S. Attorney
20   ROBERT M. TWISS, hereby stipulate as follows:
21        1.   Pursuant to 18 U.S.C. § 3582(c)(2), this court may reduce the
22   term of imprisonment in the case of a defendant who has been sentenced
23   to a term of imprisonment based on a sentencing range that has
24   subsequently been lowered by the Sentencing Commission pursuant to 28
25   U.S.C. § 994(o);
26        2.   On July 23, 1989, this Court sentenced Mr. Dawson to a term
27   of imprisonment of 180 months;
28        3.   The sentencing range applicable to Mr. Dawson was
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 1   subsequently lowered by the United States Sentencing Commission in
 2   Amendment 706 by two levels;
 3        4.      Accordingly, Mr. Dawson’s adjusted offense level has been
 4   reduced from 38 to 36, and a sentence at the low end of the new
 5   guideline range with a departure comparable to the reduction he
 6   received at the original sentencing would be 162 months;
 7        5.      Accordingly, the parties request the court enter the order
 8   lodged herewith reducing Mr. Dawson’s term of imprisonment to an
 9   aggregate term of 162 months on all counts, comprised of 162 months as
10   to Count 1 and 48 months as to Count 2, to run concurrently for a total
11   term of 162 months.
12   Dated:     July 10, 2008
13   Respectfully submitted,
14   McGREGOR SCOTT                            DANIEL J. BRODERICK
     United States Attorney                    Federal Defender
15
16
       /s/ Robert M. Twiss                        /s/ David M. Porter
17   ROBERT M. TWISS                           DAVID M. PORTER
     Assistant U.S. Attorney                   Assistant Federal Defender
18
     Attorney for Plaintiff                    Attorney for Movant
19   UNITED STATES OF AMERICA                  WALTER LEE DAWSON
20                                           ORDER
21        This matter came before the Court on the stipulated motion of the
22   defendant for reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2).
23        On July 23, 2001, this Court sentenced Mr. Dawson to a term of
24   imprisonment of 180 months.        The parties agree, and the Court finds,
25   that Mr. Dawson is entitled to the benefit of the retroactive amendment
26   reducing crack cocaine penalties, which reduces the applicable offense
27   level from 38 to 36.
28

     STIPULATED MOTION AND ORDER TO REDUCE SENTENCE
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 1        IT IS HEREBY ORDERED that the term of imprisonment originally
 2   imposed is reduced to an aggregate term of 162 months on all counts,
 3   comprised of 162 months as to Count 1 and 48 months as to Count 2, to
 4   run concurrently for a total term of 162 months.
 5        IT IS FURTHER ORDERED that all other terms and provisions of the
 6   original judgment remain in effect.
 7        Unless otherwise ordered, Mr. Dawson shall report to the United
 8   States Probation office closest to the release destination within
 9   seventy-two hours after his release.
10   Dated:     July 15, 2008
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12                                              _______________________________________
                                                FRANK C. DAMRELL, JR.
13                                              UNITED STATES DISTRICT JUDGE
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     STIPULATED MOTION AND ORDER TO REDUCE SENTENCE
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